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                                                                    United States District Court
                                                                      Southern District of Texas

                                                                         ENTERED
                                                                       August 23, 2021
                       UNITED STATES DISTRICT COURT
                                                                      Nathan Ochsner, Clerk
                        SOUTHERN DISTRICT OF TEXAS
                            VICTORIA DIVISION

The STATE OF TEXAS; and the              §
STATE OF LOUISIANA,                      §
                                         §
      Plaintiffs,                        §
                                         §
v.                                       §         Civil Action No. 6:21-cv-00016
                                         §
The UNITED STATES OF AMERICA;            §
ALEJANDRO MAYORKAS, Secretary            §
of The United States Department of       §
Homeland Security, in his official       §
capacity; UNITED STATES                  §
DEPARTMENT OF HOMELAND                   §
SECURITY; TROY MILLER, Senior            §
Official Performing the Duties of the    §
Commissioner of U.S. Customs             §
and Border Protection, in his official   §
capacity; U.S. CUSTOMS AND BORDER        §
PROTECTION; TAE JOHNSON, Acting          §
Director of U.S. Immigration and         §
Customs Enforcement, in his official     §
capacity; U.S. IMMIGRATION AND           §
CUSTOMS ENFORCEMENT; TRACY               §
RENAUD, Senior Official Performing the   §
Duties of the Director of the U.S.       §
Citizenship and Immigration Services,    §
in her official capacity; and U.S.       §
CITIZENSHIP AND IMMIGRATION              §
SERVICES,                                §
                                         §
      Defendants.                        §

                                    ORDER

      Pending before the Court is the Defendants’ Emergency Motion for

Administrative Stay and Stay Pending Appeal. (Dkt. No. 82). After reviewing the
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Motion, the Response, the Reply, the record, and the applicable law, the Court is of the

opinion that it should be GRANTED IN PART.

         In a Memorandum Opinion and Order signed August 19, 2021, the Court enjoined

the Defendants as follows:

         1.    Defendants and all their respective officers, agents, servants, employees,
               attorneys, and other persons who are in active concert or participation with
               them are hereby ENJOINED and RESTRAINED from enforcing and
               implementing the policies described in:

               a.    Section B of the January 20 Memorandum entitled “Interim Civil
                     Enforcement Guidelines.” (Dkt. No. 1-1 at 3–4);

               b.    The section entitled “Civil Immigration Enforcement and Removal
                     Priorities” in the February 18 Memorandum. (Dkt. No. 1-2 at 4–6);
                     and

               c.    The section entitled “Enforcement and Removal Actions: Approval,
                     Coordination, and Data Collection” in the February 18
                     Memorandum.1 (Dkt. No. 1-2 at 6–8).

(Dkt. No. 79 at 157-58) (footnote in the original). The Court also ordered additional

information to be provided in order to ensure compliance with the Memorandum

Opinion and Order and to aid the Court in making a final determination at trial. (Id. at

158-59).

         On Thursday, August 19, 2021—the same day the Memorandum Opinion and

Order was signed—the Court set a hearing for the following Monday, August 23, 2021,

at 3:15 p.m., to get the Parties’ feedback on 1) the reporting requirements, 2) deadlines for

discovery and briefing, 3) a date for the final trial on the merits, and 4) to hear argument


    1   This Memorandum Opinion and Order does not prohibit the Government from carrying
out or adhering to the February 18 Memorandum’s subsections entitled “Notice of At-Large
Enforcement Actions” and “Weekly Reporting of All Enforcement and Removal Actions.”


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on any Motion to Stay if one was filed. (Dkt. No. 80). The Court did not set the hearing

on Friday, August 20, 2021, so that the Parties would have sufficient time to review the

Memorandum Opinion and Order and plan for next steps.

      The Defendants filed a Notice of Appeal on Friday, August 20, 2021. (Dkt. No. 81).

Additionally, the Defendants filed this Emergency Motion for Administrative Stay and

Stay Pending Appeal the same day. (Dkt. No. 82). In this Emergency Motion, which was

filed at 11:33 p.m. on Friday, the Defendants informed the Court that “they intend to seek

emergency relief from the Fifth Circuit by 2:00 pm, [Monday,] August 23, 2021, if the Court

does not grant either a stay pending appeal or an administrative stay by that time.” (Id.

at 1-2) (emphasis added). The deadline the Defendants imposed on the Court was

unfortunate since the Defendants had already received notice of the hearing set the same

day at 3:15 p.m.—just 1 hour and 15 minutes later. In any event, the Court moved the

hearing up to 9:00 a.m. on August 23, 2021, to hear argument and get input from the

Parties on the subject matters identified above. The Court also requested that the

Plaintiffs file a Response to this Emergency Motion by 12:00 p.m. on Sunday, August 22,

2021—which they did. See (Dkt. Nos. 84 & 85, respectively). That same day, the

Defendants filed a Reply. (Dkt. No. 86).

      With the procedural history of this Motion explained, the Court now turns to the

merits. The Defendants originally misunderstood the reporting requirements to be

injunctive relief. They are not. As explained in a hearing held today, the Court is using

the reporting requirements as a case-management tool to monitor compliance and gather

information that would be relevant and helpful for the Court in making a final


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determination at trial. The Court made clear at today’s hearing and in the Preliminary

Injunction that the Court did not issue a positive preliminary injunction even though the

Plaintiffs had requested such relief. See (Dkt. No. 79 at 156 n.61). To be clear, the Court

asked the Defendants’ counsel whether anything in the Preliminary Injunction requires

prosecution, removal, or detention of any person. The Defendants’ counsel confirmed,

correctly, that it does none of those things. At the hearing, the Court went through the

reporting requirements with the Defendants one by one. The Defendants requested

certain modifications to those reporting requirements that the Court will address by

separate Order. Accordingly, there is no need to stay those reporting requirements as

they (1) were not injunctive relief and (2) will be modified at the Defendants’ request and

further input from the Parties.

       As for the actual injunction, the Court grants relief to the extent that it STAYS the

applicability of the Preliminary Injunction, (Dkt. No. 79 at 157-58), until Monday, August

30, 2021, at 12:00 p.m. to allow the Defendants time to seek relief at the appellate level.

       It is SO ORDERED.

       Signed on August 23, 2021.



                                                  _____________________________________
                                                          DREW B. TIPTON
                                                  UNITED STATES DISTRICT JUDGE




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